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The Honorable Juan R. Sanchez
Chief United States District Judge
for the Eastern District of Pennsylvania
James A. Byrne U.S. Courthouse
601 Market Street, Room 14613
Philadelphia, PA 19106-1711
                                                 Re:    David E. Piver
                                                        20-mc-00109-UJ


Dear Judge Sanchez,

       I represent David E. Piver in the above-referenced matter, relating to the imposition
of discipline in this Court, reciprocal to the discipline imposed by the Pennsylvania
Supreme Court on November 3, 2020. Effective December December 4, 2020, the
Supreme Court suspended Mr. Piver’s license for 30 days.

       Mr. Piver does not oppose the imposition of reciprocal discipline by this Court. We
only request that the suspension in this Court be imposed retroactively, to begin as of
December 4, 2020.

       Thank you for your attention to this matter.

                                                        Sincerely,




                                                        Ellen C. Brotman


       cc: David Piver, (by email only)
           Daniel White, Office of Disciplinary Counsel (by email only)



                                           BrotmanLaw
                              Admitted in Pennsylvania and New York
